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                        EXHIBIT 12
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                                              U.S. Patent No. 7,599,379


                 Claim 7                                                        Identification

[7pre] A wireless architecture,       To the extent the preamble is limiting, the OnePlus 9 provides a wireless architecture.
comprising:
                                      For example, a OnePlus 9 (“UE”) provides VoLTE (Voice over LTE) services on a 4G Long
                                      Term Evolution (LTE) network and a 5G New Radio (NR) network .




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Claim 7                                                  Identification




                     Source: Analysis of Power consumption in 4G VoLTE and 5G VoNR over IMS network, 2022
                     IEEE 27th International Workshop on Computer Aided Modeling and Design of
                     Communication Links and Networks (CAMAD).




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Claim 7                                               Identification




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Claim 7                                                   Identification




                     https://www.oneplus.com/us/9/specs




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                 Claim 7                                                              Identification

                                            https://www.t-mobile.com/cell-phone/oneplus-9-5g


[7a] a first network type operable to       A wireless architecture comprises a first network type operable to communicate with a station,
communicate with a station; and             for example, a UE.
                                            An example of a “first network type” is VoLTE cellular network (4G and/or 5G).


[7b] an interoperability node operable on   An interoperability node is operable on the architecture.
the architecture to:
                                            For example, hardware/software on the OnePlus 9 (UE) comprises an interoperability node and
                                            is operable on the architecture as shown previously.


[7c] communicate with multiple different    The interoperability node communicates with multiple different network protocols.
network protocols;
                                            The UE communicates with 3GPP LTE 4G and/or 5G protocol (one example of a network
                                            protocol) and with the Session Initiation Protocol (SIP) (another example of a different network
                                            protocol) on the IMS network.


[7d] consolidate the registration process   The interoperability node consolidates the registration process on multiple different network
on multiple different network protocols;    protocols.
and
                                            The UE consolidates the registration process on multiple different network protocols, for
                                            example, with 3GPP LTE 4G and/or 5G protocol (one example of a network protocol) and with
                                            the Session Initiation Protocol (SIP) (another example of a different network protocol) on the
                                            IMS network.




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Claim 7                                                  Identification




                     Source: https://www.gsma.com/futurenetworks/wp-content/uploads/2014/10/FCM.01-VoLTE-
                     Service-Description-and-Implementation-Guidelines-Version-2.0.pdf



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Claim 7                                                        Identification

                     “3.2.1 VoLTE UE Attachment and IMS Registration
                     3.2.1.1 General
                     A VoLTE UE, under LTE coverage, shall automatically perform an LTE Attach followed by an
                     IMS registration for VoLTE, if the network supports VoLTE (for further details on the
                     conditions for IMS registration see section 2.2.1 of GSMA IR.92 [54]). This ensures that the
                     VoLTE UE shall be available for VoLTE services (i.e. incoming calls, outgoing calls and
                     supplementary services), similar to the voice experience in today's CS network deployments.”

                     Source: https://www.gsma.com/futurenetworks/wp-content/uploads/2014/10/FCM.01-VoLTE-
                     Service-Description-and-Implementation-Guidelines-Version-2.0.pdf

                     “3.2.1.3 Detailed Description VoLTE UE Attach
                     ….
                     The MME sends an Attach Accept to the eNodeB with the IMS-APN, IP Address for the UE,
                     QoS parameters, PCO, IMS Voice over PS supported indication, TAI list, ESM message
                     container, etc. The eNodeB communicates with the UE to update the RRC configuration and
                     includes the information received from the core network as part of the create session request.

                     The UE sends the Attach Complete message to the eNodeB, which forwards to the MME. At
                     this time, the UE is capable of sending uplink packets. The MME initiates a Modify Bearer
                     Request to the SGW including the EPS Bearer Identity, eNodeB address, and eNodeB TEID.
                     The SGW acknowledges the request to the MME and is capable of sending downlink packets.

                     At this stage, the VoLTE UE is attached to the network via a default bearer that is established
                     for IMS Signalling.”

                     Source: https://www.gsma.com/futurenetworks/wp-content/uploads/2014/10/FCM.01-VoLTE-
                     Service-Description-and-Implementation-Guidelines-Version-2.0.pdf

                     “7.2.1 IMS registration via CS access
                     7.2.1.1 Overview



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                 Claim 7                                                           Identification

                                         If the MSC Server enhanced for ICS implements the Combined CS Access Authentication
                                         procedure as specified in Annex G, the UE accessing the network via CS domain shall be
                                         authenticated and registered by this procedure, otherwise the following applies.
                                         The UE may register (attach) in the CS domain whenever in CS coverage. The existing mobility
                                         management mechanisms are used in the UE and the CS network.
                                         When performing a successful Location Update for the UE, the MSC Server has received the
                                         subscriber data from the HSS/HLR. This subscriber data may include an optional flag per
                                         VPLMN.”
                                         See 3GPP TS 23.292 V.16.0.0 at pp. 22-24.

                                         When a UE obtains connectivity from an LTE network, the IMS registration process is
                                         described in Section 5.2.2.3 of 3GPP TS 23.228.

                                         “5.2.2.3 Registration information flow – User not registered
                                         The application level registration can be initiated after the registration to the access is
                                         performed, and after IP connectivity for the signalling has been gained from the access network.
                                         For the purpose of the registration information flows, the user is considered to be always
                                         roaming. For user roaming in their home network, the home network shall perform the role of
                                         the visited network elements and the home network elements.


                                         Figure 5.1: Registration – User not registered

                                            1. After the UE has obtained IP connectivity, it can perform the IM registration. To do so,
                                               the UE sends the Register information flow to the proxy (Public User Identity, Private
                                               User Identity, home network domain name, UE IP address, Instance Identifier, GRUU
                                               Support Indication). …”
                                         See 3GPP TS 23.228 V.16.0.0 at pp. 75-76.
[7e] register a station in one or more   The interoperability node registers a station in one or more other network types:
other network types by:                      Example of a “first network type”: VoLTE cellular network (4G and/or 5G)



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Claim 7                                                        Identification

                            Example of “other network types”: IP Multimedia Subsystem (IMS).

                      As discussed in [7d] above the interoperability node in the UE registers the UE in the IMS.




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[7f] identifying a particular protocol     The interoperability node identifies a particular protocol specific registration process from a
specific registration process from a       number of protocol specific registration processes.
number of protocol specific registration
processes;                                 As discussed in [7d] above, the protocol specific registration processes depend on the type of
                                           access that the station has.




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                Claim 7                                                                Identification

[7g] utilizing the particular protocol      The interoperability node utilizes the particular protocol specific registration process to directly
specific registration process to directly   access information from a network being signaled.
access information from a network being
                                             An example of “utilizing the particular protocol specific registration process”: VoLTE UE
signaled;
                                            (interoperability node) registers with the cellular network using LTE wireless network protocol
                                            messages. As part of this process the core network establishes a default bearer configuration to
                                            be used (by the VoLTE UE) for IMS SIP over IP signaling. The eNodeB sends default bearer
                                            details to the VoLTE UE (RRC Connection Reconfiguration). The VoLTE UE then activates the
                                            bearer.




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Claim 7                                                    Identification




                      Source: https://www.gsma.com/futurenetworks/wp-content/uploads/2014/10/FCM.01-VoLTE-
                      Service-Description-and-Implementation-Guidelines-Version-2.0.pdf, Figure 3


                      “The MME sends an Attach Accept to the eNodeB with the IMS-APN, IP Address for the UE,
                      QoS parameters, PCO, IMS Voice over PS supported indication, TAI list, ESM message




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                 Claim 7                                                           Identification

                                         container, etc. The eNodeB communicates with the UE to update the RRC configuration and
                                         includes the information received from the core network as part of the create session request.
                                         The UE sends the Attach Complete message to the eNodeB, which forwards to the MME. At
                                         this time, the UE is capable of sending uplink packets. The MME initiates a Modify Bearer
                                         Request to the SGW including the EPS Bearer Identity, eNodeB address, and eNodeB TEID.
                                         The SGW acknowledges the request to the MME and is capable of sending downlink packets.
                                         At this stage, the Vol TE UE is attached established for IMS Signalling.”
                                         Source: https://www.gsma.com/futurenetworks/wp-content/uploads/2014/10/FCM.01-VoLTE-
                                         Service-Description-and-Implementation-Guidelines-Version-2.0.pdf, Section 3.2.1.3
[7h] and completing the particular       The interoperability node completes the particular protocol specific registration process based
protocol specific registration process   upon the accessed information.
based upon the accessed information.
                                         An example of “completing the particular protocol specific registration process”: The VoLTE
                                         UE carries out IMS registration (“other network type”) using the IP data bearer activated using
                                         the “accessed information”. The data bearer is used to carry SIP Register, 200 OK and other SIP
                                         protocol messages between the UE (the interoperability node) and the IMS network P-CSCF.




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Claim 7                                                   Identification




                      Source: https://www.gsma.com/futurenetworks/wp-content/uploads/2014/10/FCM.01-VoLTE-
                      Service-Description-and-Implementation-Guidelines-Version-2.0.pdf, Figure 3




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